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     Aero Marketing and Logistics, LLC, a Colorado limited liability company; Christopher Charles Stryker, a/k/a Chris Stryker; and Stryker Site Services, LLC, a Colorado limited liability company, Petitioners  v.  Bristol Head Electronic Site Technologies, LLC, a Colorado limited liability company; Zero Error Networks, LLC, a Colorado limited liability company; and Kenneth D. Swinehart. Respondents No. 24SC211Supreme Court of Colorado, En BancMarch 10, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1540
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    